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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                        Case No.: 1:13−cr−00844
                                                          Honorable Andrea R. Wood
Howard Leventhal
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 12, 2021:


         MINUTE entry before the Honorable Andrea R. Wood as to Howard Leventhal:
Telephonic status hearing set for 8/13/2021 is stricken and reset for 9/3/2021 at 11:00
AM. To ensure public access to court proceedings, members of the public and media may
call in to listen to telephonic hearings. The call−in number is (888) 557−8511 and the
access code is 3547847. Counsel of record will receive an email 30 minutes prior to the
start of the telephonic hearing with instructions to join the call. Persons granted remote
access to proceedings are reminded of the general prohibition against photographing,
recording, and rebroadcasting of court proceedings. Violation of these prohibitions may
result in sanctions, including removal of court−issued media credentials, restricted entry
to future hearings, denial of entry to future hearings, or any other sanctions deemed
necessary by the Court. Mailed notice (dal, )




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